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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
────────────────────────────────────
UNITED STATES OF AMERICA

                                                    18-cr-434-7 (JGK)
             - against -
                                                    ORDER
WILLIAM POLANCO,

                    Defendant.
────────────────────────────────────
JOHN G. KOELTL, District Judge:

     The defendant seeks to make an application for

compassionate release. That is a continuation of defense

counsel’s prior representation. If Mr. Cohen can no longer

represent the defendant and if the defendant qualifies for the

appointment of CJA counsel, the Court will appoint CJA counsel.

Mr. Cohen should advise the Court promptly, no later than

June 4, 2020, whether he will continue to represent the

defendant in connection with the application for compassionate

release.

SO ORDERED.

Dated:       New York, New York
             May 29, 2020                     /s/ John G. Koeltl
                                                John G. Koeltl
                                                                          .




                                          United States District Judge
